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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

JACKSONVILLE BRANCH
OF THE NAACP, et al.,

       Plaintiffs,
                                                    Case No. 3:22-cv-493-BJD-LLL
v.

CITY OF JACKSONVILLE, et al.,

       Defendants.
                                          /

        PLAINTIFFS’ NOTICE OF LEAD COUNSEL DESIGNATION

      Pursuant to Local Rule 2.02(a), the undersigned attorney, Nicholas Warren, is

designated lead counsel for the Plaintiffs.

      Respectfully submitted this 3rd day of May, 2022,

                                              /s/ Nicholas Warren

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